Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 1 of 21



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                      CASE NO. 17-20158-CIV-MARTINEZ/GOODMAN
                           (CASE NO. 12-20496-CR-MARTINEZ)




  THOMAS KEELAN,

        Petitioner,

  v.

  UNITED STATES OF AMERICA,

        Respondent.
  ________________________________/

                         REPORT AND RECOMMENDATIONS
                      RECOMMENDING DENIAL OF § 2255 MOTION

        Movant Thomas Keelan filed a motion to vacate his conviction and sentence for

  using a cell phone and the internet to knowingly persuade, induce, or entice a minor to

  engage in illegal sexual activity. [ECF No. 3]. Keelan argues that his conviction and

  sentence should be vacated under 28 U.S.C. § 2255 because (1) his trial counsel was

  constitutionally ineffective, and (2) his Fifth Amendment due process rights were

  violated. Id. The Government filed a response in opposition to Keelan’s habeas petition

  [ECF No. 20] and Keelan filed a reply [ECF No. 24]. 1 United States District Judge Jose E.




  1
        Keelan also filed a Motion for Discovery [ECF No. 14], which the Undersigned
  previously denied. [ECF No. 17].
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 2 of 21



  Martinez referred the § 2255 motion to the Undersigned. [ECF No. 5].

        For the reasons discussed below, the Undersigned respectfully recommends that

  the District Court deny Keelan’s habeas motion.

        I.     Factual and Procedural Background

        This case involves conduct that took place between Keelan, a 51-year-old teacher,

  and his former student J.S., then 15 years old. U.S. v. Keelan, 786 F.3d 865, 865-69 (11th

  Cir. 2015). On direct appeal of his conviction, the Eleventh Circuit described the facts

  surrounding Keelan’s arrest:

        Acting on a rumor circulating through the school, Keelan confronted J.S.
        after class about his cutting. Keelan offered words of comfort and
        encouraged J.S. to call or text him whenever he felt the urge to cut. At
        Keelan’s suggestion, they began meeting each other during the school lunch
        hour to play chess in Keelan’s classroom and discuss J.S.’s emerging
        identity issues.

        One night Keelan texted J.S. and revealed he was at a gay bar on South
        Beach. J.S. told Keelan he believed he was gay. After this exchange, Keelan
        and J.S. began texting and talking each day for several hours, and Keelan
        began inserting sexual innuendo into their conversations. Keelan
        eventually asked J.S. if he wanted to have sex with him, and J.S. said yes.

        At trial, Dr. Terri Patterson, an expert in child exploitation offenses, testified
        Keelan’s interactions with J.S. were part of the “grooming process” typically
        employed by child predators. The six phases of grooming—identification,
        connection, information gathering, need fulfillment, sexual inhibition
        reduction, and preservation—were intended to establish Keelan's
        psychological control over J.S. Based on her review of the evidence, Dr.
        Patterson opined Keelan groomed J.S.
                                               ...

        During J.S.’s junior year of high school, Keelan moved to Virginia to take a
        new teaching job. Despite the long distance, Keelan selected, reserved, and


                                                2
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 3 of 21



         paid for a room in a Hollywood, Florida hotel where he and J.S. had sex.

         For reasons unknown to J.S., his parents began to suspect he was in an
         inappropriate relationship with Keelan. During his senior year of high
         school, J.S.’s parents enrolled him at a wilderness camp in Georgia and a
         residential treatment center in Texas. J.S. could not communicate with
         Keelan during this time. When Keelan returned to Florida, J.S. decided he
         wanted to cooperate with law enforcement officials.

         A few months before his 18th birthday, J.S. made wiretapped phone calls to
         Keelan. Keelan revealed he kept one of J.S.’s old vocabulary tests in which
         J.S. scored a perfect 20 out of 20. Keelan kissed it “every day” and kept it as
         a talisman of J.S. During one call, Keelan admitted he was masturbating to
         the sound of J.S.’s voice and said he loved the way J.S. performed oral sex.

         On June 1, 2012, Keelan and J.S. agreed to meet at the Hollywood Gateway
         Inn at Hollywood, Florida. Keelan reserved a room for seven nights with
         two adults and one king-sized bed. On June 15, 2012, Keelan began driving
         from Virginia to South Florida. On June 16, 2012, law enforcement officers
         surveilled Keelan stopping at the Lion’s Den in Fort Pierce, Florida. While
         there, Keelan bought several sex toys before resuming his journey toward
         J.S.

         Later that day, Keelan arrived at the hotel where officers arrested him and
         searched his car. The search uncovered a wide array of sex toys, bondage
         devices, lubricant, and pornographic DVDs featuring young adult males.
         Following his arrest, Keelan admitted to his sexual relationship with J.S.

  Id. at 868-69.

         On January 25, 2013, a jury found Keelan guilty of knowingly using a means of

  interstate commerce to persuade, induce, or entice J.S. to engage in sexual activity, in

  violation of 18 U.S.C. § 2422(b). Id. at 869; [CRDE No. 93]. 2 Keelan was convicted of



  2
         References to the docket in the underlying criminal case will be to “CRDE” and
  references to the instant civil § 2255 habeas case will be to “ECF.”


                                               3
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 4 of 21



  enticing a minor to engage in sexual activity from Fall 2009 through Summer 2011 (Count

  1), and one count of attempting to commit the same offense from May 9 to June 16, 2012

  (Count 2). Keelan, 786 F.3d at 869. Keelan was sentenced to 200-months imprisonment.

  [CRDE No. 174].

         At trial, Keelan admitted that he used his email and a cell phone to contact J.S. and

  did have sex with him. [ECF No. 24, p. 5]. But the defense’s theory was that Keelan did

  not persuade J.S. because J.S. was pursuing Keelan, not the other way around. Id. Keelan

  filed a pre-trial motion to introduce evidence of prior sexual activity under Federal Rule

  of Evidence 412(b). [CRDE No. 29]. Keelan argued that evidence establishing that J.S. had

  engaged in consensual sexual activity with 40-50 individuals, all of the same age and

  demographic background as Keelan, would rebut the Government’s argument that

  Keelan persuaded J.S. to engage in sexual activity and would rebut J.S.’s testimony on

  that point. [ECF No. 29, p. 1]. Judge Martinez denied the motion, finding that “the prior

  sexual activity of JS has no bearing” on whether Keelan knowingly attempted to persuade

  JS to engage in sexual activity. [CRDE No. 34, p. 2].

         Keelan also filed a pre-trial motion in limine to exclude evidence at trial of the

  graphic details surrounding Keelan and J.S.’s sexual activity, sex toys found in Keelan’s

  car after his arrest, and pornography found in Keelan’s home and car. [CRDE No. 73].

  Keelan argued this evidence was not relevant to the offense and was grossly prejudicial.

  Id. at pp. 1-2. Judge Martinez denied the motion in limine because he “agree[d] with the



                                               4
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 5 of 21



  Government and f[ound] this evidence to be highly relevant and essential to the case.”

  [CRDE No. 85].

         On April 26, 2013, Keelan filed a notice of appeal. [CRDE 120]. Keelan argued, in

  addition to other claims not relevant to his habeas motion, that the District Court erred

  by: (1) denying his motion in limine to exclude “irrelevant, highly prejudicial, and

  graphic testimony and physical evidence . . . pertaining to specific homosexual activity

  between Mr. Keelan and J.S.”; and (2) denying Keelan’s motion to introduce evidence of

  “J.S.’s consensual sexual activity with other males of the same age and demographic

  background as Mr. Keelan,” which Keelan claimed was relevant to whether J.S. was

  persuaded into sexual activity and relevant to J.S.’s credibility. [ECF No. 20-1, p. 5].

         The Eleventh Circuit affirmed Keelan’s conviction. Keelan, 786 F.3d at 869 n.1

  (“Keelan also raised the following: . . . the district court erred in admitting J.S.’s testimony

  about the sex acts performed with Keelan [and] pornographic videos found; . . . and the

  district court erred in denying his sealed Federal Rule of Evidence 412(b) motion. We

  affirm these . . . issues without discussion.”).

         II.    Legal Standard and Analysis

         Keelan argues that he is entitled to relief under § 2255 because his trial counsel was

  constitutionally ineffective and that his Fifth Amendment due process rights were

  violated. [ECF No. 3]. Specifically, he argues that his counsel was constitutionally

  ineffective by: (1) failing to make a reasonable investigation of J.S.’s mental state and



                                                 5
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 6 of 21



  failing to introduce evidence of J.S.’s mental state in order rebut an element of the offense

  and impeach J.S.; (2) failing to object to the Government’s introduction of evidence that

  amounted to a constructive amendment of the indictment; and (3) failing to object to

  legally incorrect jury instructions regarding Count 2. Keelan argues that his Fifth

  Amendment Due Process rights were violated because: (1) the Government withheld

  evidence of J.S.’s history of baiting older mean online and J.S.’s mental state (Brady

  violation); and (2) the prosecutor made improper statements during closing argument

  that violated his due process rights. Finally, Keelan argues that, at a minimum, he is

  entitled to an evidentiary hearing on his habeas claims.

         As explained below, the Undersigned finds these arguments unpersuasive.

                a. Keelan’s Ineffective Assistance of Counsel Arguments Fail on the
                   Merits.

         To prevail on an ineffective assistance of counsel claim, a petitioner like Keelan

  must establish: (1) deficient performance -- that his counsel’s representation fell below an

  objective standard of reasonableness; and (2) prejudice -- that but for the deficiency in

  representation, there is a reasonable probability that the result of the proceeding would

  have been different. Strickland v. Washington, 466 U.S. 668, 687, 691 (1984); Chandler v.

  United States, 218 F.3d 1305, 1313 (11th Cir. 2000).

         Review of counsel’s conduct is highly deferential, and courts will not second-guess

  an attorney’s strategic decisions. Spaziano v. Singletary, 36 F.3d 1028, 1039 (11th Cir. 1994).

  Courts should presume counsel was effective. White v. Singletary, 972 F.2d 1218, 1220 (11th


                                                6
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 7 of 21



  Cir. 1992). Because a wide range of performance is constitutionally acceptable, “the cases

  in which habeas petitioners can properly prevail on the ground of ineffective assistance

  of counsel are few and far between.” Rogers v. Zant, 13 F.3d 384, 386 (11th Cir. 1994). To

  be unreasonable, the performance must be such that “no competent counsel would have

  taken the action that his counsel did take.” Grayson v. Thompson, 257 F.3d 1194, 1216 (11th

  Cir. 2001) (internal citations omitted). And, the burden of proving ineffective assistance

  of counsel remains with the petitioner at all times. Chandler v. United States, 218 F.3d 1305,

  1314 n.15 (11th Cir. 2000).

         Keelan argues that his counsel was constitutionally ineffective by: (1) failing to

  make a reasonable investigation of J.S.’s mental state and failing to introduce evidence of

  J.S.’s mental state in order rebut an element of the offense and impeach J.S.; (2) failing to

  object to the Government’s introduction of evidence that amounted to a constructive

  amendment of the indictment; and (3) failing to object to legally incorrect jury

  instructions regarding Count 2. The Undersigned disagrees.

                        i. Counsel’s purported failure to make a reasonable investigation
                           and present evidence regarding J.S.’s mental state

         Keelan argues that his trial attorneys should have investigated further and

  presented at trial more evidence of J.S.’s mental state at the time of the relationship with

  Keelan in order to rebut an essential element of the offense and to impeach J.S.’s

  testimony. Specifically, Keelan argues that his counsel should have presented evidence

  that J.S. pursued older men online, not merely that he had sex with many older men before.


                                                7
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 8 of 21



         First, J.S.’s mental state would not rebut an element of the offense. Rather, the only

  mens rea at issue was Keelan’s and whether Keelan knowingly used a means of interstate

  commerce to persuade, induce, or entice J.S. to engage in sexual activity. See 18 U.S.C. §

  2422(b). Keelan could have been convicted under 18 U.S.C. § 2422(b) for communicating

  solely with an undercover agent posing as a minor, who would not have had an intent to

  engage in sexual activity. See United States v. Rutgerson, 822 F.3d 1223, 1233 (11th Cir. 2016)

  (finding evidence sufficient to support conviction under § 2422(b) where the defendant

  requested sex with an undercover agent posing as an underage prostitute). The intent of

  the minor victim, J.S. was irrelevant to the elements of the offenses charged.

         Thus, counsel’s performance can hardly be considered deficient for failing to

  present evidence to support a futile argument. See Broughton v. Buss, No. 11-Civ-60099,

  2011 WL 13134626, at *13 (S.D. Fla. Aug. 3, 2011 (“The decision does not constitute

  deficient performance because reasonable counsel could have concluded that pursuing

  such an unsupported and outlandish theory would have been unsuccessful.”); see also

  Rizo v. United States, 662 F. App’x 901, 903 (11th Cir. 2016) (finding counsel not deficient

  for failing to bring implausible alibi defense).

         Further, Keelan’s counsel did in fact attempt to bring in evidence relating to J.S.’s

  prior sexual conduct with other men, but Judge Martinez found that evidence to be

  irrelevant, harassing, and inadmissible under Rule 412(a). [CRDE No. 34]. The Eleventh

  Circuit affirmed this decision on direct appeal. See Keelan, 786 F.3d at 869 n.1. During the



                                                8
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 9 of 21



  trial, defense counsel attempted to question J.S. about his letters to his parents about his

  desire to get away from his home and sexual communications with other adult men. See

  ECF No. 20-4, pp. 54-98. Judge Martinez denied these requests but permitted Keelan to

  question J.S. about his initial pursuit of Keelan and the “sexting” he did with Keelan. Id.

  at pp. 55-60. It was the defense’s theory that J.S. could not be lured into sexual conduct

  that he himself sought out. See ECF No. 20-4, p. 4. There is nothing to support the theory

  that presenting further evidence on this point (i.e., that J.S. was sexually predisposed to

  having sex with older men) would have been successful for the defense.

         Consequently, the Undersigned finds that Keelan has failed to show his counsel

  was ineffective on this point or that Keelan suffered prejudice as a result of this alleged

  ineffective performance. See Strickland, 466 U.S. at 687.

                       ii. Counsel’s alleged failure to object to introduction of evidence
                           that amounted to a constructive amendment of the indictment

         Keelan argues that the jury was provided a “mountain of evidence” pertaining to:

         Keelan’s interstate travel to have sex, his reservation of hotel rooms for sex,
         his purchase of sex toys, his possession of pornography, his rental of kayaks
         to paddle to an island for sex, his games of chess in his classroom with J.S.,
         and his various in-person conversations with J.S. about his sexual
         orientation, and their use of sex toys, bondage, and other manner and
         means of engaging in sexual intercourse.

  [ECF No. 3, p. 23]. Keelan argues that this evidence had nothing to do with the gravamen

  of his offenses and that his trial attorneys were ineffective for failing to object to the

  Government’s introduction of evidence (which amounted to a constructive amendment



                                               9
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 10 of 21



   to the indictment).

         The Undersigned disagrees. Similar to Keelan’s other ineffective assistance of

   counsel claims, the Undersigned finds that Keelan is attempting to reargue an argument

   already made unsuccessfully at trial and on appeal (or that could have been made on

   appeal) under the guise of an ineffective assistance of counsel claim.

         First, the Undersigned agrees with the Government that the information regarding

   Keelan’s long-term grooming and enticement of J.S. (outside of cellphone and internet

   communications) were relevant to the Government’s rebuttal of Keelan’s entrapment

   arguments [ECF No. 20-4, pp. 104-105] and is relevant background information, which

   explained how the relationship unfolded.

         Second, Keelan’s trial counsel did in fact object to the introduction of this evidence

   as a constructive amendment of the indictment and sought a mistrial on that basis:

         Based on that slide, and I just want to add it to the record so it’s clear,
         described about 17 things that Mr. Keelan did. Only two or three of them
         involved the use of a cell phone or the internet. By arguing those things
         that that’s how Mr. Keelan committed this crime, the Government has
         constructively amended the indictment far beyond what’s alleged by
         saying that first that he committed this crime through means that didn’t
         involve interstate commerce, like spanking him and taking him kayaking.
         And also through means of interstate commerce that are not alleged in the
         indictment like his purchasing a phone calls. I’m sorry. Purchasing of hotel
         rooms. So I move for mistrial on that basis.

         [ECF 20-4, p. 106 (emphasis added)]. Judge Martinez denied defense counsel’s

   motion for a mistrial. And Keelan raised a similar argument on appeal (i.e., that Judge

   Martinez erred by denying his motion in limine to exclude “irrelevant, highly prejudicial,


                                               10
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 11 of 21



   and graphic testimony and physical evidence . . . pertaining to specific homosexual

   activity between Mr. Keelan and J.S.”), but the Eleventh Circuit affirmed this issue in the

   Government’s favor. See Keelan, 786 F.3d at 869 n.1 (“Keelan also raised the following:

   . . . the district court erred in admitting J.S.’s testimony about the sex acts performed with

   Keelan [and] pornographic videos found . . . We affirm these . . . issues without

   discussion.”). There is nothing to support the argument that further objections from

   defense counsel would have resulted in a favorable ruling by Judge Martinez.

          Consequently, the Undersigned finds that Keelan has failed to show his counsel

   was ineffective on this point or that Keelan suffered prejudice as a result of this alleged

   ineffective performance. See Strickland, 466 U.S. at 687.

                       iii. Counsel’s so-called failure to object to legally incorrect jury
                            instructions regarding Count 2

          Keelan argues that his trial attorneys were ineffective for failing to object to the

   jury instructions agreed to by the parties regarding Count 2 of the indictment for

   “attempt.” Keelan points to the following jury instructions:

          In some cases, it’s a crime to attempt to commit an offense -- even if the
          attempt fails. ln this case the Defendant is charged in Count 2 of the
          Indictment with a violation of Title 18, United States Code, Section 2422(b),
          beginning on or about May 9, 2012, and continuing through on or about
          June l6, 2012. That Section makes it a Federal crime for anyone, using any
          facility or means of interstate or foreign commerce, to attempt to persuade,
          induce, or entice anyone under 18 years old to engage in any sexual activity
          for which any person could be charged with a criminal offense.




                                                11
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 12 of 21



         The Defendant can be found guilty of the offense charged in Count 2 of the
         lndictment only if all of the following facts are proved beyond a reasonable
         doubt:

                First: the Defendant knowingly persuaded, induced, or enticed J.S.
                to engage in sexual activity, as charged;

                Second: the Defendant used the internet and a cellular phone to do
                so;

                Third: when the Defendant did these acts, J.S. was less than 18 years
                old; and

                Fourth: the individual engaging in the sexual activity could have
                been charged with a criminal offense under the law of Florida.

         The Defendant can be found guilty of an attempt to commit that offense
         only if both of the following facts are proved beyond a reasonable doubt:

                First: The Defendant knowingly intended to commit the crime of
                persuading, inducing, or enticing a minor to engage in sexual
                activity; and

                Second: The Defendant’s intent was strongly corroborated by his
                taking a substantial step towards committing the crime.

         So the Government must prove that one or more of the individuals
         engaging in the sexual activity could have been charged with a criminal
         offense under the laws of Florida.

         As a matter of law the following acts are crimes under Florida law; Under
         Florida Statute § 777.04(1), a person who attempts to commit an offense
         prohibited by law and in such attempt does any act toward the commission
         of such offense, but fails in the perpetration or is intercepted or prevented
         in the execution thereof, commits the offense of criminal attempt. Moreover,
         under Florida Statute § 794.05, a person commits a crime when the person
         is 24 years of age or older and engages in sexual activity with a person 16
         or 17 years of age.

         “Sexual activity,” as used in Florida Statute § 794.05, means the oral, anal,


                                              12
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 13 of 21



          or vaginal penetration by, or union with, the sexual organ of another or the
          anal or vaginal penetration of another by any other object; however, sexual
          activity does not include an act done for a bona fide medical purpose.

   [ECF No. 3, pp. 25-26]; [CRDE No. 91, pp. 11-12 (emphasis added)].

          Keelan argues that the instructions were erroneous for two reasons.

          First, he argues that the section of the instructions containing the pattern

   instructions for “attempt” misstated the first element by omitting “using the internet and

   cellular phone.” Keelan argues that, because the words “using the internet and cellular

   phone” were omitted from the attempt instruction, the jury could have convicted Keelan

   for an attempt that is lacking a use of the internet or cellular phone and would constitute

   a constructive amendment of the indictment.

          This is unsupported. The instruction does provide that Count 2 makes it a crime

   for anyone, “using any facility or means of interstate or foreign commerce, to attempt to

   persuade, induce, or entice anyone under 18 years old to engage in any sexual activity

   . . .” [ECF No. 91, p. 11 (emphasis added)]. And to the extent that the interstate commerce

   nexus was not mentioned again in specifically discussing the additional proof needed for

   the attempt charge, 3 this was unnecessary. The previous paragraph includes the




   3
           The Defendant can be found guilty of an attempt to commit that offense
   only if both of the following facts are proved beyond a reasonable doubt:

          First: The Defendant knowingly intended to commit the crime of
          persuading, inducing, or enticing a minor to engage in sexual activity; and



                                               13
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 14 of 21



   necessary elements for the completed offense, including the requirement that Keelan

   used the internet and a cellular phone.

          Second, Keelan argues the instruction gave two choices for ‘acts [that] are crimes

   under Florida law’ with the first ‘act’ being the Florida crime of ‘attempt.” [ECF No. 3, p.

   26]. The specific provision provides:

          As a matter of law the following acts are crimes under Florida law; Under
          Florida Statute § 777.04(1), a person who attempts to commit an offense
          prohibited by law and in such attempt does any act toward the commission
          of such offense, but fails in the perpetration or is intercepted or prevented
          in the execution thereof, commits the offense of criminal attempt. Moreover,
          under Florida Statute § 794.05, a person commits a crime when the person
          is 24 years of age or older and engages in sexual activity with a person 16
          or 17 years of age.

   [ECF No. 3, pp. 25-26]; [CRDE No. 91, pp. 11-12].

          Keelan argues that by providing two alternative “theories” of Florida Statutes that

   were violated, the instructions provided an obvious improper basis for the jury to convict

   Keelan for “attempting” the Florida offense of attempting to commit any offense

   prohibited by Florida law. [ECF No. 3, pp. 26-27].

          The Undersigned finds that, while the extra “attempt” may be superfluous, it does

   not materially change the offense. It does not instruct the jury to find that the offense can

   be committed in more than one way because an attempt to attempt to commit offense is



          Second: The Defendant’s intent was strongly corroborated by his taking a
          substantial step towards committing the crime.

   Id.


                                                14
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 15 of 21



   simply an attempt to commit the offense. Keelan fails to describe how this language could

   be interpreted to mean that the offense could be committed in more than one way or how

   it broadened the conduct punishable under this offense. And he fails to point to any case

   law involving analogous language that was found to be improper.

          Accordingly, the Undersigned does not find that Keelan’s counsel’s failure to

   object to the jury instruction was in error and that “no competent counsel would have

   taken the action that his counsel did take.” See Grayson, 257 F.3d at 1216 (internal citations

   omitted).

                 b. Keelan’s Due Process Claims Are Procedurally Barred and Fail on the
                    Merits.

          Keelan argues that the Government violated his Fifth Amendment due process

   rights by (1) withholding evidence of J.S.’s history of baiting older men online and other

   online communications reflecting his intent at the time he met Keelan (Brady violation), 4

   and (2) the prosecutor’s improper statements during closing argument. The Undersigned

   finds these arguments fail because they are procedurally barred, and, even if they were

   not procedurally barred, they also fail on the merits.

          A motion to vacate under § 2255 is not a substitute for a direct appeal, and issues

   which could have been, but were not raised on direct appeal, are procedurally barred. See




   4
         Under Brady v. Maryland, 373 U.S. 83, 87 (1963), it is a violation of due process for
   the Government to suppress evidence favorable to the accused when that evidence “is
   material either to guilt or to punishment.”


                                                15
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 16 of 21



   Lynn v. United States, 365 F.3d 1225, 1234-35 (11th Cir. 2004); see also Bousley v. United

   States, 523 U.S. 614, 621 (1998). However, a movant may overcome this procedural bar if

   he can show (1) “cause” for not raising the ground on direct appeal and (2) “actual

   prejudice” from the alleged error, or (3) a fundamental miscarriage of justice (i.e., factual

   innocence). See Lynn, 365 F.3d at 1234; see also Bousley, 523 U.S. at 622-24. To prove

   “cause,” Keelan “must show that some objective factor external to the defense prevented

   [Keelan] or his counsel from raising his claims on direct appeal and that this factor cannot

   be fairly attributable to [Keelan’s] own conduct.” Lynn, 365 F.3d at 1235.

          Here, Keelan’s due process claims were available at the time he filed his direct

   appeal, but he did not include these arguments in his direct appeal. See Keelan, 786 F.3d

   at 869. Thus, Keelan is procedurally barred from raising these arguments in his habeas

   petition. See Lynn, 365 F.3d at 1235 (“In procedural default cases, the question is not

   whether legal developments or new evidence has made a claim easier or better, but

   whether at the time of the direct appeal the claim was available at all.”).

          Further, Keelan cannot overcome this procedural bar because he cannot show

   “cause” and “actual prejudice,” or factual innocence. See Lynn, 365 F.3d at 1234. Any due

   process claim regarding the prosecutor’s comments made during closing argument was

   clearly available to Keelan at the time of his direct appeal and Keelan provides no




                                                16
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 17 of 21



   explanation as to what prevented him from raising that claim in the direct appeal. 5

          As to the Government’s alleged failure to turn over “evidence of JS’s history of

   baiting older men online and his ‘mental state’” [ECF No. 3, p. 31], Keelan states in his

   reply that, at the time of the direct appeal, “the undisclosed evidence had yet to be

   discovered.” [ECF No. 24, p. 6 (emphasis added)]. However, Keelan fails to explain what

   new evidence was discovered after the direct appeal was filed and how Keelan’s counsel

   obtained that information. Thus, Keelan has not shown “cause” as it applies to this

   argument, as well.

          Regardless, Keelan cannot show actual prejudice because, during trial, Keelan was

   in possession of evidence supporting the notion that J.S. engaged in prior sexual activity

   with other older men. This included a 14-page letter written by J.S. to his parents “about




   5
          The Undersigned finds that this argument also fails on the merits. Keelan points
   to the prosecutor’s references to Keelan and J.S.’s time together and to the things that
   Keelan did to groom J.S. and gain his trust, and the prosecutor’s statement that these
   things “would have enticed J.S.” and supported that Keelan was guilty of the charged
   offenses. [ECF No. 3, pp. 35-36]. Keelan argues that this misstates the law because the
   prosecutor left out the required use of the internet or a cell phone to entice Keelan, as
   required under § 2422(b).

          Even so, Keelan does not point to other evidence supporting his argument that the
   jury was not properly instructed on the requirement that a means of interstate commerce
   was required for this offense (here -- the internet or a cell phone) and the jury instruction
   was clear that it was required [CRDE No. 91, p. 9]. Thus, any ambiguity on this point
   during the prosecutor’s closing statement appears to be harmless. See Cox v. McNeil, 638
   F.3d 1356, 1361 (11th Cir. 2011) (affirming lower court’s finding that prosecutor’s
   misstatement of law during closing argument was harmless where law was clearly
   specified in jury instructions).

                                                17
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 18 of 21



   his mental state and sexuality, his preference for men [Keelan’s] age, his communication

   of affection and sexual desires for men [Keelan’s] age, and his sexual overtures to other

   men [Keelan’s] age prior to meeting [Keelan];”and an email “about J.S.’s communications

   with other men the same age as [Keelan]. [See ECF No. 14, p. 2].

           Judge Martinez found that evidence establishing that J.S. engaged in consensual

   sexual activity with 40-50 individuals, all of the same age and demographic of Keelan, to

   be irrelevant, harassing, and inadmissible under Rule 412(a). [CRDE No. 34]. Thus, there

   is no reason to believe that additional evidence supporting the same premise, i.e., that J.S.

   “baited” and engaged in prior sexual activity with other older men, would have been

   found relevant and admissible under Rule 412(a) and would have changed the outcome

   of the trial.

           J.S.’s state of mind was not relevant to whether Keelan knowingly used a means of

   interstate commerce to persuade, induce, or entice J.S. to engage in sexual activity under

   18 U.S.C. § 2422(b). The only mens rea at issue was Keelan’s. Again, Keelan could have

   been convicted under 18 U.S.C. § 2422(b) for communicating solely with an undercover

   agent posing as a minor, who would not have had an intent to engage in sexual activity.

   See Rutgerson, 822 F.3d at 1233 (finding evidence sufficient to support conviction under §

   2422(b) where the defendant requested sex with an undercover agent posing as an

   underage prostitute).




                                                18
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 19 of 21



          Thus, even if Keelan’s Brady claim was not procedurally barred,6 it fails on the

   merits as well because Keelan cannot show that J.S.’s communications to other older men

   and his state of mind would be relevant to Keelan’s guilt. And further, any such evidence

   would not have been admitted by Judge Martinez. See CRDE No. 34.

                 c. Keelan Is Not Entitled to an Evidentiary Hearing

          Finally, the Undersigned finds that Keelan is not entitled to an evidentiary hearing

   on his claims. As discussed above, his due process claims are procedurally barred, and

   his ineffective assistance of counsel arguments fail without reference to any specific facts

   that require further clarification through an evidentiary hearing. See Tejada v. Dugger, 941

   F.2d 1551, 1559 (11th Cir. 1991) (internal citation omitted) (“A petitioner is not entitled to

   an evidentiary hearing . . . when his claims are merely conclusory allegations

   unsupported by specifics.”); see also Scott v. United States, 598 F.2d 392, 393 (5th Cir. 1979)

   (“Contrary to the movant’s assertions, the right to a hearing is not established simply by

   filing a petition under 28 U.S.C. § 2255. When claims for habeas relief are based on

   unsupported generalizations, a hearing is not required.”).




   6
          Further, Keelan cannot overcome this procedural bar by establishing “factual
   innocence” because he has not presented evidence undermining the Undersigned’s
   confidence in the outcome of the trial. See Henderson v. Campbell, 353 F.3d 880, 892 (11th
   Cir. 2003) (“[A] federal court may also grant a habeas petition on a procedurally defaulted
   claim . . . where a constitutional violation results in the conviction of someone who is
   actually innocent.”).


                                                 19
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 20 of 21



          III.   Certificate of Appealability

          “Section 2253(c) bars appeals from ‘final order[s]’ in § 2255 proceedings ‘[u]nless

   a circuit justice or judge issues a certificate of appealability.’” Jackson v. United States, 875

   F.3d 1089, 1090 (11th Cir. 2017) (quoting 28 U.S.C. § 2253(c)(2)). Section 2253(c) permits

   the issuance of a certificate of appealability only where a petitioner has made a

   “substantial showing of the denial of a constitutional right.” Miller-El v. Cockrell, 537 U.S.

   322, 336 (2003) (internal citation omitted). This requires the petitioner to, in turn, show

   “that reasonable jurists could debate whether (or, for that matter, agree that) the petition

   should have been resolved in a different manner or that the issues presented were

   adequate to deserve encouragement to proceed further.” Id. (internal quotations omitted).

          Here, Keelan’s due process claims are procedurally barred and his ineffective

   assistance of counsel arguments are factually inaccurate and unsupported. Thus, it does

   not appear that reasonable jurists could debate whether Keelan’s petition should have

   been resolved in a different manner. Accordingly, the Undersigned respectfully

   recommends that Judge Martinez not issue a certificate of appealability.

          IV.    Conclusion

          For the reasons discussed above, the Undersigned respectfully recommends that

   the District Court deny Keelan’s habeas motion.




                                                  20
Case 1:17-cv-20158-JEM Document 25 Entered on FLSD Docket 02/11/2020 Page 21 of 21



          V.        Objections

          The parties will have 14 days from the date of this Report and Recommendations

   within which to file written objections, if any, with the District Judge. Each party may file

   a response to the other party’s objection within 14 days of the objection. Failure to file

   objections timely shall bar the parties from a de novo determination by the District Judge

   of an issue covered in the Report and shall bar the parties from attacking on appeal

   unobjected-to factual and legal conclusions contained in the Report except upon grounds

   of plain error if necessary in the interests of justice. See 29 U.S.C. § 636(b)(1); Thomas v.

   Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (11th Cir. 1989); 11th Cir.

   R. 3-1 (2016).

          RESPECTFULLY RECOMMENDED in Chambers, at Miami, Florida, February

   11, 2020.




   Copies furnished to:
   The Honorable Jose E. Martinez
   Counsel of Record




                                                 21
